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                                   UNITED STATES DISTRICT COURT
20                               NORTHERN DISTRICT OF CALIFORNIA

21    CHASOM BROWN, WILLIAM BYATT,                  Case No.: 4:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
22
      CASTILLO, and MONIQUE TRUJILLO                 PLAINTIFFS’ REPLY IN SUPPORT
23    individually and on behalf of all similarly    OF REQUEST FOR AN ORDER FOR
      situated,                                      GOOGLE TO SHOW CAUSE WHY IT
24                                                   SHOULD NOT BE SANCTIONED FOR
                      Plaintiffs,                    DISCOVERY MISCONDUCT
25
       vs.                                          The Honorable Susan van Keulen
26
                                                    Courtroom 6 - 4th Floor
27     GOOGLE LLC,                                  Date: April 21, 2022
                                                    Time: 10:00 a.m.
28                    Defendant.                    Filed Under Seal

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1                                                  INTRODUCTION
2             Throughout this case, Google has been adamant that it cannot identify “Incognito”
3    browsing data. These assertions were false:
4

5

6                                                                                                       :
7

8

9
     Mao Reply Decl. Ex. 1. Timely disclosure of these bits would have allowed the parties to negotiate
10
     preservation of a much smaller data set than what Google represented it would otherwise need to
11
     preserve at this time last year. But Google concealed their existence, convinced the Court
12
     preservation was burdensome, and spoliated class member data along the way. Specifically,
13
     Google did not:
14
              1. Inform the Court of the                                              in the context of the parties’
15               preservation dispute;
16            2. Identify the employees responsible for these                                          in interrogatory
                 responses and custodian lists; or
17
              3. Identify and produce complete schema for all of the data sources and logs where these
18                              have been implemented.

19 To this day, Google still has not confirmed to Plaintiffs that it has identified

20            Against this backdrop, notably absent from Google’s papers is any suggestion that its

21 repeated failures were due to mere inadvertence. And while Google submits a declaration from its

22 outside counsel, nowhere does that declaration suggest that counsel were unaware of these

23                               . Instead, the remarkable gravamen of Google’s Opposition is that despite

24 its multiple efforts to conceal and obscure—including an admittedly incomplete and inaccurate

25 Court-ordered declaration on relevant data sources—Plaintiffs should have gleaned enough from

26 a tiny handful of documents that Google trickled out last fall to have caught on to Google’s

27 defiance of multiple Court Orders sooner.

28                                                            1
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1             Why did Google go to such great lengths to conceal these facts? Google’s brief makes that
2    reason clear: Google’s principal opposition to class certification will be to argue that class
3    members cannot be identified and that the private browsing data cannot be linked to individual
4    users. Opp. 2, 7. Google thus intentionally withheld discovery and deleted evidence that could
5    have been used to disprove its arguments. The most appropriate remedy is to issue evidentiary
6    sanctions that will prevent Google from achieving the very objective of its discovery misconduct.
7                                                     ARGUMENT
8    I.       Google Has No Justification for Its Discovery Misconduct and Concealment.

9             A.       Google Omitted                                                          from its February and
                       March 2021 Lists of Relevant Employees
10
              Google offers no explanation for why it omitted                                           in its February
11
     2021 list of potential custodians and in its March 2021 interrogatory response. Google does not
12
     even mention                  anywhere in its Opposition. These witnesses had long worked on the
13
                                                                                                         and
14
                                                                                                   Mot. 8-9; Supp. 2.
15
     Google points to the fact that six months later, it cross-produced a Calhoun custodian list that
16
                                           Opp. 11.
17
                                                   would Google have disclosed them in Calhoun but not in
18
     Brown? In any event, Google’s belated cross-production post-dated the Court’s cut-off for
19
     custodian disputes. 1 And the belatedly produced Calhoun list also omits                              , the person
20
     responsible
21            B.       Google Never Disclosed the                       Bits in the Parties’ April 2021
                       Preservation Dispute or the July 2021 X-Client-Data Header Dispute
22
              Google secured a protective order on preservation without informing Plaintiffs or the Court
23
     that it had,
24
     1
25   The Court set an August 24 deadline for final custodian disputes. Dkts. 242-1, 258. Further
   grasping at straws, Google points out that it had produced some emails from Mr. Leung. Opp. 12.
26 But just four of the cited documents (Trebicka Exs. 1, 3, 4, 5) were produced prior to Plaintiffs’
   August 24 deadline to select custodians, and these documents, buried in a sea of millions of pages,
27

28                                                            2
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1                                                                              . See Supp. at 1
2

3                                                                               . 2 Google recently admitted that it
4    can
5                  Mao Reply Decl. Ex. 2. Google should have proposed such targeted preservation last
6    April. Had the Court known of
7          , the Court may have ruled differently on Google’s motion for a protective order. Instead,
8    Google presented a false “all or nothing” choice to preserve all potentially relevant logs in their
9    entirety or omit the log from the preservation plan. See Dkt. 119. Google left the Court with that
10 misleading impression for a reason. To this day, Google has never presented a shred of evidence

11 that preserving targeted data related to

12            Similarly, when the parties subsequently briefed their dispute over production of data
13 lacking any X-Client-Data Header (Dkt. 218), Google had by then also implemented the

14

15                            . Mao Reply Decl. Ex. 6. Once again, Google shows no contrition for failing
16 to disclose this information. Instead, Google brags about winning a rigged game, arguing that it

17 convinced the Special Master and the Court to deny Plaintiffs’ motion. Mot. 11-12; Opp. 8. This

18 argument only highlights Google’s concealment and Plaintiffs’ prejudice.
19            C.       Google Did Not Disclose the Logs that Contain                                      in Its Court-
                       Ordered November 2021 Declaration
20
              By November 2021, the jig should have been up. The Court required a “declaration, under
21
     penalty of perjury from Google, not counsel, that: 1. To the best of its knowledge, Google has
22
     provided a complete list of data sources that contain information relevant to Plaintiffs’ claims….”
23
     Dkt. 331 at 8. Yet Google selected as its declarant Andre Golueke, a “
24

25

26   2

          See infra Section I.F. Thus, Google’s preservation obligation would have been a fraction
27 of what Google represented.

28                                                3
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1                Plaintiffs’ motion explained that Mr. Golueke’s court-ordered declaration “appears to be
2    false” because
3                                                                           Mot. 13 (citing Dkt. 338). Subsequent
4    discovery has confirmed as much:
5                                                                                                               . Compare
6    Mao Decl. Reply Ex. 6, with Dkt. 338-1. And Mr. Golueke’s Declaration did not list any of the
7

8                Compounding the problems, Mr. Golueke’s subsequent declaration (Dkt. 528-5) admits
9    that he
10                                                                                                                     Dkt.
11 528-5 ¶¶ 10-11. Plaintiffs are troubled that Google’s investigation failed to address these bits,

12 particularly since

13                                                    . See generally Ansorge Decl. (Dkt. 528-1) Google itself
14 certainly knew. Google’s deliberate choice to select a                                                  as its declarant
15 and then keep him in the dark about                                       cannot be countenanced. Surely that is
16 not what the Court had in mind when it ordered Google to swear under oath that it “provided a

17 complete list of data sources.” Dkt. 331; id. at 3 (“Google knows what data is has collected

18 regarding Plaintiffs and putative class members and where the data may be found”).
19               Google does not even attempt to excuse its failure to identify the
20                                          As for the other bits, Google wrongly claims that they were, prior
21 to the class definition amendment, “irrelevant to the case” insofar as they live in “Search” logs.

22 Opp. 14. 3 This argument, which Google has clung to like a life-preserver throughout the litigation,

23 is meritless. One purpose of the Special Master process was to provide Plaintiffs “the tools to

24

25   3
         Even this explanation by Google was not forthcoming,
26 Reply Mao Decl. ¶ 7.

27

28                                                               4
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1    identify class members using Google’s data.” Dkt. 331 at 4. People who use Google Search within
2    Incognito can and do go on to visit non-Google websites.
3

4                                                                                   . Mot. 14. The Special Master’s
5    reasoning applies even more so to logs where Google has since                                                     el
6

7             D.       Google Does Not Explain Why It Could Not Produce More Complete Schema

8             For the two logs with                                      that Mr. Golueke’s declaration actually

9    identified, Google subsequently prevented Plaintiffs from learning about the bit by producing

10 altered log schema that omitted the field from                          Reply Mao Decl. ¶¶ 3-4; Mot. at 5-6.

11 Google’s purported “largest-               fields” excuse is implausible, including because (i) Google

12 produced schema for other logs that contained more than                          fields and (ii) Google readily

13 provided more comprehensive schema for the                                                    logs once Plaintiffs

14 moved for sanctions. Supplement at 4; Reply Mao Decl. ¶¶ 5-6. Google’s Opposition has no

15 response to these points. Nor does Google dispute Plaintiffs’ argument that the “largest-                      fields”

16 limitation automatically excluded the                                  bits, which are boolean fields that show

17 up only as “true” or “false” and thus will never be among the largest fields. Supplement at 4-5.

18            Google suggests that “full compliance” with the November 12 order (i.e., producing full

19 schema with every field) would have posed “engineering burdens.” Opp. 15. Setting aside that the
                                                    4
20 November 12 Order already rejected such concerns, they are irrelevant here. All Google had to

21 do was supplement the              -largest fields with the                   bit. Google then goes so far as to

22 blame the Special Master for its own misconduct, quoting the Special Master’s statement that

23 “maybe it was my fault for saying . . . produce these top                           hoping that was going to be

24 enough.” Opp. 16. As this statement implicitly acknowledges, the Special Master would not have

25
     4
    “To the extent [this process] requires the significant commitment of time, effort, and resources
26 across groups of engineers at Google on very short timelines, that burden . . . arises, at least in part,
   as a result of Google’s reticence thus far to provide critical data source information in these
27 actions.” Dkt. 331 at 4-5.

28                                                  5
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1     permitted Google to limit its production to the largest-            fields if Google informed him that doing
2     so would eliminate key                 fields. Google did not disclose any of that information to the
3     Special Master when it requested permission to limit the schema. See Trebicka Decl. Ex 35.
4             E.       Google’s Document Defense Holds No Water.

5             Google largely attempts to excuse much of the above misconduct by pointing to a small

6     handful of opaque and outdated documents that it produced. But those documents did not clearly

7     disclose that Google had implemented the                                     bits. And the doubt that was left

8     by this mere handful of documents was reinforced by Mr. Liao’s misleading deposition testimony,

9     which he now attempts to defend by slicing the bologna so thin it is all but transparent.

10            With respect to the                                  bit, Google does not point to any documents

11 whatsoever that it has produced in this case. Not one. Opp. 12. With respect to the

12                                      bit, Google points to a single document. And Google selectively

13 quotes from the document to make it sound more certain than it actually is—the underlined

14 portions of the following quote were omitted in Google’s brief:

15                                                                Trebicka Decl. Ex. 15. Moreover, that Google

16 identifies only one document about just one of these bits--out of                             total documents—is

17 alarming given that                     was a search term. Dkt. 148. Especially given the

18 belatedly produced only recently, Mao Reply Decl. Ex. 1, Plaintiffs are deeply concerned that
19 Google intentionally held back other documents (including by not disclosing                                    ), and

20 Google should be prepared to address this issue at the hearing.

21            With respect to the “                                   ” bit, Google misleadingly suggests that it

22 produced documents in the

23

24           Opp. 5. This is, quite simply, wrong for three reasons. First,

25

26                                                                                                        Trebicka Ex.

27 Decl. Ex. 13. That is because, as explained in detail in the opening Mao Declaration,

28                                                            6
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1

2                                                                                      . Opening Mao Decl. ¶ 12
3     (summarizing Trebicka Ex. 13). As the Opening Mao Declaration pointed out,
4                                                                                             . Id. ¶ 3. Plaintiffs have
5     sent Google’s counsel multiple messages demanding an explanation why                                       version
6     of the document was not produced                             custodial files last fall. Mao Reply Decl. ¶ 10.
7     Google has never responded, id., and Google’s Opposition simply ignores these facts altogether.
8             Second, the single family of documents that Google produced last fall which mentioned
9

10

11

12                             Trebicka Decl. Exs. 12, 17-18. The documents all indicated, however, that
13 this “

14                                           Id.
15

16

17                                           Google subsequently produced additional variants of the same
18 document on November 24, 2021—Thanksgiving eve. See Trebicka Decl. Exs. 23-25.
19            Third, after Google produced this handful of documents from                               custodial files,
20 Plaintiffs then deposed Mr. Liao. Mr. Liao repeatedly gave misleading if not outright false

21 testimony under oath—testimony appearing to

22 Mot. 15-16. When asked if Google

23

24

25

26          Opening Mao Decl. Ex. 8, Liao Tr. 136:2-11. Google’s Opposition tellingly ignores this
27 portion of Mr. Liao’s testimony.

28                                                            7
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1             Moreover, in response to a question about whether
2

3

4

5                  Opening Mao Decl. Ex. 8, Liao Tr. 140:6-10. Mr. Liao now attempts to justify his
6     misleading answer by stating that
7

8                                          Liao Decl. ¶¶ 5, 7, 13. But the only examples he gives concerning
9

10

11

12                                                          Mr. Liao’s testimony was false at worst and deeply
13 misleading at best.

14

15

16

17                                                                       See Reply Ex. 11.
18            F.       Plaintiffs Learned the Truth through                                         Documents

19            Google would have escaped without any repercussions but for this Court’s February 2022

20 order compelling production of documents from Mr. Leung. Dkts. 399, 401. And Mr. Leung’s

21 documents led Plaintiffs to Ms. Liu. Opening Mao Decl. Exs. 22-24

22           Over Google’s objection, this Court then ordered production of Ms. Liu’s documents, Dkt.

23 437, which were even more revealing.

24

25                                                                See Mao Reply Decl. Ex. 5, GOOG-CABR-

26 03849022 at -022

27                                                                    Ms. Liu’s documents revealed:

28                                                            8
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1

2     Mao Reply Decl. Ex. 4, GOOG-BRWN-00846508 at -08.
3                                                                                                                           .
4     Supplemental Mao Decl. Ex. 4, Liu Tr. 40:10-20. That is something Google (or Plaintiffs’ experts)
5     could have done at any time, even if just for purposes of this case. Because Google did not timely
6     preserve and produce data where
7

8                         Declaration of Christopher Thompson, filed herewith (“Thompson Decl.”) ¶ 23.
9     II.     Sanctions Are Warranted Because Google Severely Prejudiced Plaintiffs.
10            A.       Google’s Conduct Severely Prejudiced Plaintiffs in Multiple Ways.

11            First, Google has all but foreclosed discovery into the

12                                     bits, which were implemented in 2017. Google’s Opposition points

13 to zero documents produced about the                                           bit and one document about the

14 other. Plaintiffs were unable to ask a single fact witness any questions about them. Plaintiffs did

15 not even learn the name of the person most knowledgeable about these bits until after the close of

16 fact discovery from a Rule 30(b)(6) witness. Supplement at 2. Plaintiffs have no data whatsoever

17 tied to these bits. Plaintiffs are, quite simply, in the dark about

18
19            Second, the existence of these bits dating back so long makes clear that Google could have

20 and should have preserved class member data.

21          , which itself is a subset of all the browser traffic that Google logs. Google misleadingly

22 presented the Court with the false impression that

23                      and (ii) therefore, the only way to preserve relevant data would be to preserve “all

24 logs” in their entirety. Based on this misleading premise, Google secured a protective order which

25 it used to justify its continued deletion of relevant                        data throughout the class period.

26            Third, even with respect to the                                          bit, Plaintiffs did not receive

27 documents from the employees responsible until the final weeks of fact discovery. And Plaintiffs

28                                                            9
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1     still do not have documents about how that bit may have related to the                    bits. Plaintiffs agreed
2     to a narrow search of Mr. Leung and Ms. Liu’s documents beginning in 2019 and 2020. Plaintiffs
3     also still lack data associated with any of the                                         . 5 And Google still will
4     not confirm whether there are any other                                  bits that they are still withholding.
5     Reply Mao Decl. ¶ 9. 6 But for Google’s violation of numerous Court orders, Plaintiffs would have
6     learned about these bits far earlier, and would have had opportunities to seek evidence about them.
7     Plaintiffs would have asked other witnesses about these bits, requested more documents about
8     them, discovered other employees responsible for them, and conducted iterative searches using
9     data from them. Google’s misconduct deprived Plaintiffs of these opportunities.
10             Google argues it was justified because the
11                                   and (ii) cannot be used to identify potential class members. Opp. 9.
12 These arguments are not only meritless, but highlight the prejudice flowing from Google’s

13 concealment and destruction.

14                                                                        The data was reliable enough for Google
15 to use it for its own business purposes.

16

17                                                                                 . Thompson Decl. ¶¶ 10-12, 24-
18 28. To the extent Google disputes the reliability of its                                bits, or whether incognito
19 data could have been linked to specific users’                       accounts, Google should have provided
20

21    5
     Google points out that Plaintiffs received some data reflecting other fields within these logs. Opp.
22 21. But Plaintiffs still lack any data from these logs for Search 1 or 2. Nor will the prejudice be
   cured should Google ultimately produce such data. Plaintiffs will not receive any of this data prior
23 to their April 15 deadline for opening expert reports. And, contrary to the November 12 Order,
   which provided four rounds of iterative searches (Dkt. 331, Ex. 1), Plaintiffs will never be able to
24 conduct follow-up searches using the data returned from these logs.

25    6
          Google’s point about the
26
                                                                                                             Thompson
27 Decl. ¶¶ 18-20; Mao Reply Ex. 3 Tr. 39:16-41:10

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1     fulsome discovery so the parties and their experts could properly litigate those issues. Google
2     stacked the deck by hiding the existence of these bits, hiding documents that confirm these bits are
3     accurate, and now, after being caught, claims Plaintiffs should simply accept Google’s say-so.
4             B.       This Court Has Authority to Sanction Google.

5             Google Violated Multiple Court Orders: The Court should sanction Google under Rule

6     37(b), and the Court’s inherent authority, because Google violated multiple Court orders and

7     repeatedly misled the Court. In April 2021, this Court ordered Google to produce Plaintiffs’ data,

8     explaining that Plaintiffs “have a right” to use the data to refute Google’s assertions. Apr. 29 Tr.

9     at 19:2-7 (“[W]hat the Plaintiffs are asking for is pieces of information from different places

10 because they want to see if they can piece together, by combination of that information, class

11 members. And that’s why—I mean, it seems to me that they have a right to try to do that with

12 whatever information you have.” (emphasis added)). Google did not comply with those April 29

13 instructions, nor the corresponding April 30 order. (Dkt. 147-2)—Strike 1. Google got another

14 chance when the Special Master imposed a three-step data production process in September 2021.

15 Dkt. 273. Google still did not comply, culminating in factual findings by the Special Master and

16 this Court that Plaintiffs’ data has “not yet been fully produced.” Dkt. 299 ¶ 53; Dkt. 331 at 3—

17 Strike 2. Google was granted another do-over with the November 12 order. Still, Google continued

18 hiding                                              bits that have been implemented in                        Google

19 logs—Strike 3. Google does not deserve another at bat. “Because the record is clear that [Google]

20 violated the [various] Order[s], equally clear that [Google’s] conduct was well within its own

21 control, sanctions of some type are warranted.” Apple, 2012 WL 1595784, at *3.

22            Google Failed to Supplement its Interrogatory Responses: The Court should also

23 sanction Google under Rule 37(c) based on Google’s failure to supplement its interrogatory

24 response to identify                                               . 7 Google does not even try to show that its

25

26    7
     Fed. R. Civ. P. 37(c) (permitting sanctions if a party fails to provide information or identify a
   witness as required by Rule 26(a) or (e)); Fed. R. Civ. P. 26(e)(1)(A) (stating a party “who has
27 responded to an interrogatory…must supplement or correct its disclosure or response…in a timely

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1     failure to timely disclose these witnesses was “substantially justified” or “harmless,” meaning
2     sanctions are mandatory. Fed. R. Civ. P. 37(c)(1).
3             Google Spoliated Relevant                            Data: Google should have preserved class
4     members’ data that was or could have been associated with the
5                                      bits. Yet Google “failed to take reasonable steps to preserve it” and
6     such data “cannot be restored or replaced through additional discovery.” Fed. R. Civ. P. 37(e).
7     Google’s only apparent justification for deleting such data during the course of this litigation is
8     that it secured a protective order from the Court concerning the deletion of certain logs in their
9     entirety. But the Court never ruled that Google had no obligation to preserve event-level data that
10 was or could have been specifically flagged with                              bit. Instead, the record before the
11 Court was based on Google’s misleading statements suggesting that it could not identify incognito

12 traffic and it would be burdensome to preserve “all logs.” The evidence on the whole, and Google’s

13 opposition brief, confirm that Google’s conduct was not inadvertent: it “acted with the intent to

14 deprive [Plaintiffs] of the information’s use in the litigation.” Fed. R. Civ. P. 37(e)(1)-(2).

15            C.       The Punishment Must Fit the Crime.
16            Evidentiary Sanctions: This Court should take as established that:
17

18                              To be clear, there is no ascertainability requirement in the Ninth Circuit.
19 Buffin v. City & Cty. of San Francisco, 2018 WL 1070892, at *5 (N.D. Cal. Feb. 26, 2018)

20 (Gonzalez Rogers, J.) (“The Ninth Circuit has not adopted an ascertainability requirement.” (citing

21 Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1124 n.4 (9th Cir. 2017))). Nevertheless, Google’s

22 Opposition makes clear that its misguided ascertainability argument is likely what motivated its

23 concealment of evidence and destruction of data. 8 Google should not be permitted to profit from

24

25 manner if the party learns that in some material respect the disclosure or response is incomplete or

26 incorrect, and if the additional or corrective information has not otherwise been made known”).
   8
     Opp. 2 (“Plaintiffs’ fundamental problem is that . . . data collected from members of the first
27 class . . . during Incognito sessions are islands or orphaned data; they are not linked to a user’s

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1     its concealment and data destruction by continuing to press such arguments—all while Plaintiffs
2     have been deprived of important evidence they were entitled to use to rebut Google’s position.
3             Google’s cases concerning terminating sanctions are simply off-point. Opp. at 20-21 (citing
4     cases). Plaintiffs do not seek terminating sanctions, although Google’s conduct arguably warrants
5     such relief: Google has “lied to Plaintiffs and the Special Master, destroyed evidence before and
6     after this case began, and impeded resolution of this case by failing to make complete and timely
7     productions to Plaintiffs and the Special Master.” Facebook, Inc. v. Onlineinc Inc., No. 3:19-cv-
8     07071-SI (N.D. Cal.) Dkt. 222 (Van, Keulen, M.J.) (holding any “lesser sanction would be
9     inappropriate under the circumstances”). Yet where, as here, the sanction does not amount to a
10 default judgment, the only question is whether the sanction bears “a reasonable relationship to the

11 subject of discovery that was frustrated by sanctionable conduct.” Navellier v. Sletten, 262 F.3d

12 923, 947 (9th Cir. 2001). Nor does it matter whether the requested sanction will, in Google’s view,

13 make it more difficult for Google to oppose class certification. Craftwood Lumber Co. v. Interline

14 Brands, Inc., 2013 WL 4598490, at *13 (N.D. Ill. Aug. 29, 2013) (“Craftwood does not dispute

15 that a preclusion order would leave Interline without a basis for opposing class certification, but

16 notes that this result is of Interline’s own making. We agree. The sanction is harsh but warranted”).

17            Google next suggests that “lesser remedies are available,” implying that this Court should
18 at most preclude Google from relying on particular evidence. Opp. 23. If this Court chooses to
19 employ a preclusion sanction instead of taking facts as established, then this Court should preclude

20 Google from making any arguments about any of the

21                                                                                  . Plaintiffs should be permitted
22 to rely on the (limited) discovery they have into these bits, without Google being allowed to make

23 counterarguments. Preclusion otherwise would carry no teeth—as the defendant, Google would be

24 happy to argue that Plaintiffs failed to prove what the deleted and concealed evidence would show.

25            Google wrongly claims that this Court may only preclude it from “relying on arguments
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   identity.”); id. 7 (describing class member identification as a “dispositive class identification
27 problem” and an “insurmountable obstacle”).

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1     and evidence that it had not already disclosed by the time of the decision or the close of discovery.”
2     Opp. 23. But Google still has not produced discovery concerning the                                            and
3                                      bits, and still has not produced any
4                      . In any event, “it is well-established that ‘[b]elated compliance with discovery
5     orders does not preclude the imposition of sanctions.’” Sas v. Sawabeh Info. Servs., 2015 WL
6     12711646, at *7 (C.D. Cal. Feb. 6, 2015) (quoting North American Watch Corp. v. Princess
7     Ermine Jewels, 786 F.2d 1447, 1451 (9th Cir. 1986)). “As the Ninth Circuit has explained, the
8     ‘[l]ast-minute tender of documents does not cure the prejudice to opponents.’” Sas, 2015 WL
9     12711646, at *7 (quoting Princess Erime Jewels, 786 F.2d at 1451). Even if Google had eventually
10 complied with its obligations (it still has not), “it would be unjust to allow [Google’s] egregious

11 conduct to escape sanction.” Id. at *11. Sanctions are appropriate where, as here, a party’s decision

12 to withhold material until the close of discovery (and after) deprives another of “a meaningful

13 opportunity” to “comprehend” complex discovery. Apple v. Samsung Elecs. 2012 WL 1595784,

14 at *3 (N.D. Cal. May 4, 2012). Here, the (extremely limited) discovery came far too late.

15            Google’s conduct was “designed to achieve a tactical advantage”; such “obstruction should
16 not be permitted to achieve its objectives.” Conway v. Dunbar, 121 F.R.D. 211, 214 (S.D.N.Y.

17 1988). “Where the discovery misconduct has deprived the opposing party of key evidence needed

18 to litigate a contested issue, an order prohibiting the disobedient party from contesting that issue—
19 or simply directing that the matter be taken as established—is also appropriate.” Shanghai Weiyi

20 Int'l Trade Co. v. Focus 2000 Corp., 2017 WL 2840279, at *11 (S.D.N.Y. June 27, 2017).

21 Google’s suggestion that preclusion is inappropriate where the subject “remains a contested issue

22 of fact” is wrong: Were that the standard, there would be no preclusion standard. 9 Opp. 24.

23
      9
24      For support, Google cites Natural Immunogenics Corp. v. Newport Trial Group., 2016 WL
      11520757, at *6 (C.D. Cal. June 16, 2016), which is inapposite because the plaintiff did not even
25    seek sanctions under Rule 37. And the court in Kannan v. Apple Inc., 2020 WL 9048723, at *9
      (N.D. Cal. Sept. 21, 2020) declined to employ preclusion because there was only a “possibility”
26    that the party’s deficient evidence collection efforts resulted in withholding evidence. Here, by
      contrast, Plaintiffs have established that Google hid and withheld particular evidence regarding its
27    tracking of Incognito traffic.
28                                                     14
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1             Jury Instruction: This Court should also instruct the jury that “Google concealed and
2     altered evidence regarding its                                                   Mot. 22. Google argues that
3     this Court cannot order such a sanction because Google did not permanently delete or withhold all
4     relevant evidence. But Google’s selective production does not absolve Google for the evidence it
5     deleted or withheld. Kannan, 2020 WL 9048723, at *10 (ordering jury instruction where party
6     searched some but not all locations he was required to search); Nursing Home Pension Fund v.
7     Oracle Corp., 254 F.R.D. 559, 564 (N.D. Cal. 2008) (finding “adverse inferences in plaintiffs’
8     favor are warranted with regard to some categories of evidence that defendants concede was not
9     produced or preserved.”). Google also incorrectly suggests that only this Court will decide whether
10                                        . Opp. 25.
11                                                                                                        , bears on the
12 offensiveness of Google’s conduct and is thus relevant to Plaintiffs’ claims for invasion of privacy

13 and intrusion upon seclusion, as well as Plaintiffs’ entitlement to punitive damages.

14            Reimbursement of Special Master Fees: Finally, Google is mistaken that Plaintiffs may
15 not seek reimbursement of Special Master fees. Rule 37(b)(2)(C) requires the offending party to

16 “pay the reasonable expenses, including attorney’s fees, caused by the failure.” (emphasis added);

17 see also Sali v. Corona Reg’l Med. Ctr., 884 F.3d 1218, 1225 (9th Cir. 2018) (affirming sanctions

18 for costs associated with court-ordered deposition). Timely identification by Google of the
19                          bits would have significantly streamlined the Special Master process, including
20 by making it clear exactly which logs should be searched. Google’s misconduct made the whole

21 process far more time consuming and expensive than it needed to be.

22                                                   CONCLUSION
23            Plaintiffs request that the Court issue the sanctions described above and any other sanction
24 the Court deems appropriate. One purpose of sanctions is to “to serve as a general deterrent in both

25 the case at hand and other cases.” Sas, 2015 WL 12711646, at *10. Absent meaningful sanctions,

26 Google and other parties would be incentivized to do exactly what Google has done here; namely,

27 lie and withhold evidence until (if) caught. That behavior cannot be encouraged.

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      Dated: April 11, 2022                               BOIES SCHILLER FLEXNER LLP
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